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                                                                             FILED




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING                         7:34 pm, 1/25/23
                   Scott W Skavdahl, United States District Judge
                                                                       Margaret Botkins
                            Case No. 1:21-CR-77-SWS                     Clerk of Court


 Kim Blonigen, Deputy Clerk                                         January 25, 2023
 Megan Strawn, Court Reporter                                           Casper, WY
 William Elliott, Law Clerk


 UNITED STATES OF AMERICA,                                 Stephanie Sprecher, USA
                                                            Christyne Martens, USA
                                                          Janee Woodson, Paralegal
                                                         Keri Patrick, CPD Detective

                                  Plaintiff,

vs.

 SALVADOR SALAS, JR.,                                    Mark Hardee, CJA Counsel
                                                           Christina Sell, Paralegal


                                Defendant.



                                       Jury Trial
                                        Day III

8:50 a.m.   Court in session.

8:50 a.m.   Jury members returned to the Courtroom.

8:51 a.m.   Karri Reliford called and sworn.

8:52 a.m.   Direct examination of Karri Reliford by Ms. Martens.

9:00 a.m.   Cross-examination of Karri Reliford by Mr. Hardee.

9:03 a.m.   Yvette Romo called and sworn.
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9:03 a.m.    Direct examination of Yvette Romo by Ms. Martens.
             Exhibit 203 identified and admitted.

9:13 a.m.    Cross-examination of Yvette Romo by Mr. Hardee.

9:17 a.m.    Trinity Johnson called and sworn.

9:18 a.m.    Direct examination of Trinity Johnson by Ms. Martens.
             Exhibit 202 identified and admitted.

9:28 a.m.    Christina Buettner called and sworn.

9:28 a.m.    Direct examination of Christina Buettner by Ms. Martens.
             Exhibit 125, 128, 132, 111, 113, 114, 116, 117 displayed.

9:58 a.m.    Cross-examination of Christina Buettner by Mr. Hardee.

10:19 a.m.   Voir dire of Christina Buettner by the Court.

10:20 a.m.   Redirect of Christina Buettner by Ms. Martens.
             Exhibit 111 displayed.

10:28 a.m.   Amber Gurley called and sworn.

10:28 a.m.   Direct examination of Amber Gurley by Ms. Martens.
             Exhibit 130 displayed.

10:42 a.m.   Jury members exited the courtroom.

10:42 a.m.   Court in session outside the presence of the jury; Court addressed the
             parties regarding the Government’s final witness and the display of
             evidence.

11:04 a.m.   Court in recess.

11:17 a.m.   Court in session.

11:17 a.m.   Jury members returned to the Courtroom.

11:18 a.m.   Caleb Forness called and sworn.

11:19 a.m.   Direct examination of Caleb Forness by Ms. Martens.
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            Exhibits 401-410, 500-576, 413, 415, 500A, 600A.1-600A.42, 600B1-
            600B.14, 600C.1-600C.88, 600A.43-600A.45, 601, 602, 602.1, 603, 604,
            605.1-605.118 identified and admitted.

1:21 p.m.   Jury members exited the courtroom.

1:23 p.m.   Court in recess.

1:32 p.m.   Court in session.

1:32 p.m.   Jury members returned to the Courtroom.

1:33 p.m.   Continued direct examination of Caleb Forness by Ms. Martens.

1:40 p.m.   Cross-examination of Caleb Forness by Mr. Hardee.

1:51 p.m.   Government rests.

1:52 p.m.   Jurors given recess instruction and released for lunch, advised to return at
            4:00 p.m.

3:09 p.m.   Court in session.

3:09 p.m.   Jury instruction conference held.

3:26 p.m.   Mr. Hardee makes a motion for judgment of acquittal. The Court ruled on
            the motion.

3:31 p.m.   The Court advised the defendant of his right to testify.

3:35 p.m.   Mr. Hardee makes a record of continued objections to certain orders and
            rulings for purposes of appeal.

3:44 p.m.   Court in recess.

4:04 p.m.   Court in session.

4:05 p.m.   Jury members returned to the Courtroom.

4:06 p.m.   Evidence closed.

4:07 p.m.   Jury instructions read to jury.
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4:43 p.m.    Closing Argument of United States by Ms. Martens.

4:59 p.m.    Closing Argument of Defendant by Mr. Hardee.

5:07 p.m.    Rebuttal of Government by Ms. Martens.

5:13 p.m.    Juror numbers 30 and 31 thanked for their service and excused.

5:14 p.m.    Bailiff called forward and sworn.

5:17 p.m.    Jurors retired to the jury room to begin deliberations. (Courtroom Deputy
             collected cellular phones, showed Jurors the JERS system and left Jurors to
             their deliberations).

5:18 p.m.    Court in recess.

5:20 p.m.    Court in session.

5:20 p.m.    The Court directed that a meal be ordered for the jury.

5:20 p.m.    Court is in recess to await a verdict from the jury.

7:15 p.m.    Court is in session. Jury members returned to the courtroom.

7:18 p.m.    The verdict was received and read by the Court. The Court gave the jury
             final instruction.

7:21 p.m.    Jury members excused and exited the courtroom.

7:22 p.m.    Court is adjourned.



Daily witnesses:

Karri Reliford
Yvette Romo
Trinity Johnson
Christina Buettner
Amber Gurleys
Caleb Forness
